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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION



IN RE: 160 Royal Palm, LLC,                                Chapter 11 Case
                                                           Case No. 18-19441-EPK

Debtor.
___________________________________ /


         OPPOSITION TO DEBTOR’S MOTION TO STRIKE KK-PB FINANCIAL’S
                         OBJECTION TO PRIVATE SALE

          KK-PB Financial, LLC (“KK-PB Financial”), by and through its undersigned counsel,

files its opposition (“Opposition”) to the Debtor’s Motion to Strike KK-PB’s Objection to Private

Sale [ECF No. 630] (“Motion to Strike”). In support of this Opposition, KK-PB Financial

respectfully states as follows:

                                           BACKGROUND

          1.        On February 26, 2019, the Court entered its Order Estimating the Claim of KK-

PB Financial, LLC and Denying Ability to Credit Bid [ECF No. 603] (the “Estimation Order”).

          2.        On February 26, 2019, the Debtor filed its Expedited Motion to Approve (I)

Private Sale of Real Property to LR U.S. Hotels Holdings, LLC and (II) Authorize Debtor’s

Advance of $250,000 to the Town of Palm Beach on Behalf of Debtor’s Assets [ECF No. 604]

(the “Sale Motion”).

          3.        On March 1, 2019, the Court entered its order Order: (I) Granting Expedited

Motion Seeking Approval of Procedures for Amended Sale Process and (II) Scheduling Final

Hearing to Consider Approval of Sale of Assets Free and Clear of Liens, Claims and

Encumbrances [ECF No. 619] (the “Sale Procedures Order”).

          4.        The Sale Procedures Order set a deadline of March 5, 2019 at 4:00 p.m. to file

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any objections to the sale of the Debtor’s real property to LR U.S. Hotels Holdings, LLC. See

Sale Procedures Order ¶ 9. The Sale Procedures Order also provided that the Court would

“consider all timely and properly-filed objections, under 11 U.S.C. § 363, to the sale of the

Assets . . . .” See id. ¶ 8.

          5.        KK-PB Financial complied with the Court’s deadline by filing its Objection to

Private Sale of Real Property to LR U.S. Hotels Holdings, LLC Free and Clear of Liens, Claims

and Encumbrances [ECF No. 629] (the “Objection”).

          6.        Additionally, KK-PB Financial filed a Supplement to Objection to Private Sale of

Real Property to LR U.S. Hotels Holdings, LLC Free and Clear of Liens, Claims and

Encumbrances [ECF No. 631].

                                              ARGUMENT

          7.        The Debtor filed its Motion to Strike within two hours of KK-PB Financial

making its timely filed Objection requesting that the Court strike KK-PB Financial’s Objection

for two reasons: (A) KK-PB Financial lacks standing to object to the Sale as a result of the

Estimation Order, and (B) the Objection should be stricken because it is an insufficient objection

to a sale under 11 U.S.C. §363(k). See Motion to Strike ¶¶ 5-10. As explained in further detail

below, both of the Debtor’s arguments are without merit, and the Motion should be denied.

     I.         KK-PB Financial Has Standing to Prosecute the Objection

          8.        First, KK-PB Financial has standing to object to the sale as a creditor of the

Debtor’s estate. Section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”)

provides:

                    A party in interest, including the debtor, the trustee, a creditors’
                    committee, an equity security holders' committee, a creditor, an
                    equity security holder, or any indenture trustee, may raise and may
                    appear and be heard on any issue in a case under this chapter.


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11 U.S.C. § 1109(b) (emphasis added). The list of parties in interest in section 1109(b) is non-

exclusive. Kaiser Aero. & Elecs. Corp. v. Teledyne Indus. (In re Piper Aircraft Corp.), 244 F.3d

1289, 1303 n.11 (11th Cir. 2001).

          9.        Collier on Bankruptcy provides that a party in interest satisfies standing

requirements “if the outcome of the proceeding may affect the ultimate disposition of that party’s

stake in the [ ] case.” 7 Collier on Bankruptcy P 1109.04[4] (16th ed. 2017); In re James Wilson

Assocs., 965 F.2d 160, 169 (7th Cir. 1992) (recognizing section 1109(b) to mean “that anyone

who has a legally protected interest that could be affected by a bankruptcy proceeding is entitled

to assert that interest with respect to any issue to which it pertains, thus making explicit what is

implicit in an in rem proceeding--that everyone with a claim to the res has a right to be heard

before the res is disposed of since that disposition will extinguish all such claims.”).

          10.       A creditor, an enumerated party with standing to object under section 1109(b), is

defined as an entity with a claim against the debtor. See 11 U.S.C. §101(10). A “claim” is

defined as “a right to payment, whether or not such right is reduced to judgment, liquidated,

unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,

secured, or unsecured.” See 11 U.S.C. §101(5)(A) (emphasis added).

          11.       Indeed, a creditor whose claim has been estimated at $0 is still permitted to object

in the bankruptcy case. See In re Innovasystems, Inc., No. 11-36228-ABA, 2014 Bankr. LEXIS

5103, at *28 (Bankr. D.N.J. Dec. 18, 2014) (“Though estimating Proveris’s claim at $0 prevents

it from voting on the plan, it does not prevent it from objecting to the plan, to the extent it has

standing under that term’s usual meaning and under the Code.”).

          12.       Here, the Court’s Estimation Order plainly states: “the claim of KK-PB Financial,

LLC, . . . is estimated as an unsecured claim in the amount of $0.00 for all purposes in this



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chapter 11 case.” See Estimation Order at p. 15 (emphasis added). The Court not only did not

disallow KK-PB Financial’s claim, but the Court explicitly stated that KK-PB Financial has an

unsecured claim. Accordingly, and despite the Debtor’s unsupported assertion to the contrary,

KK-PB Financial still has a claim against the Debtor and is therefore a creditor entitled to object

under section 1109(b) of the Bankruptcy Code.

     II.         The Objection is Proper under Section 363(k) of the Bankruptcy Code

           13.      Second, the Objection is appropriate under Section 363(k) of the Bankruptcy

Code. KK-PB Financial’s Objection is necessary due to the Debtor’s insistence on including the

result of the Estimation Order in paragraph 221 of the Sale Motion. Including the Court’s ruling

from the Estimation Order as an additional finding or decretal paragraph in the Sale Order

improperly bootstraps such decision into the Sale Order—which necessarily and improperly

requires KK-PB Financial to seek reconsideration and/or appeal of any such order.

           14.      To be sure, the Estimation Order is not a final order as it is still subject to

reconsideration and/or appeal. Including the language of paragraph 22 in any sale order would

mislead any parties in interest to believe KK-PB Financial’s claim has been estimated as $0.00

and unsecured on a final basis. KK-PB Financial will pursue reconsideration and/or appeal of

the Estimation Order.

           15.      In short, the Estimation Order’s ruling on KK-PB Financial’s claim stands on its

own. It is unnecessary and duplicative for the Debtor to include the ruling from the Estimation


1         Paragraph 22 of the Sale Motion provides that claims of creditors of the Debtor secured by the Assets (as defined in the
Sale Motion) shall, by operation of law, attach to the proceeds of the sale of the Assets in the order of their priority. Further, this
section provides:
                    For avoidance of doubt, such attachment shall not apply to Claim No. 70-3 filed by
                    KKPB, nor shall such attachment apply to the note or mortgage underlying such
                    claim, due to the fact that the Court estimated this claim at $0 for all purposes in
                    this bankruptcy case, and determined that KKPB no longer has a lien on the
                    Debtor’s real property.
Sale Motion ¶ 22 (emphasis in original).


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Order into a potential sale order to be entered by this Court. In fact, doing so potentially creates

finality issues for the sale itself, as it would create another order that must be subject to KK-PB

Financial’s right to seek reconsideration and/or appeal.

                                         CONCLUSION

          In sum, KK-PB Financial respectfully submits the Motion to Strike should be denied for

the foregoing reasons, and the Court should consider the Objection and permit KK-PB Financial

to be heard at the hearing on the Sale Motion in accordance with the Court’s Sales Procedures

Order.


Dated: March 6, 2019
Miami, Florida                                WHITE & CASE LLP

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                                 CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a copy of the foregoing was served by CM/EMF on the

parties of record herein.


                                           By: /s/ James N. Robinson
                                                   James N. Robinson




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